          Case 2:16-cv-01135-NVW Document 45 Filed 07/07/17 Page 1 of 2




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                         IN THE UNITED STATES DISTRICT COURT
 7
                               FOR THE DISTRICT OF ARIZONA
 8
 9   Martha Vasquez,                                No. CV-16-01135-PHX-NVW
10                       Plaintiff,                 ORDER
11   v.
12   Target     Corporation,   a     Minnesota
     corporation; Target Stores, Inc., (FN), a
13   Minnesota corporation; John Does and Jane
14   Does 1-10; ABC Corporations 1-10; XYZ
     Partnerships 1-10,
15
                         Defendants.
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17
              Before the Court are Defendants’ Motion for Summary Judgment (Doc. 41),
18
     which has not been responded to, and Motion for Summary Disposition of Their Motion
19
     for Summary Judgment (Doc. 44). Both motions will be granted. The Court considers
20
     the Motion for Summary Judgment on its merits based on the undisputed facts presented.
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     The video recording and evidence conclusively show that Plaintiff did not slip and fall
22
     but rather stubbed her left shoe and fell forward. There was no foreign substance on the
23
     floor upon which Plaintiff could have slipped and no negligence of Defendants.
24
              IT IS THEREFORE ORDERED that Defendants’ Motion for Summary Judgment
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     (Doc. 41) and Motion for Summary Disposition of Their Motion for Summary Judgment
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     (Doc. 44) are granted.
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      Case 2:16-cv-01135-NVW Document 45 Filed 07/07/17 Page 2 of 2




 1          IT IS FURTHER ORDERED that the Clerk of the Court enter judgment in favor
 2   of Defendants against Plaintiff Martha Vasquez and that Plaintiff take nothing. The clerk
 3   shall terminate this case.
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            Dated this 7th day of July, 2017.
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